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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CHARLES H. and ISRAEL F., on behalf of
 themselves and all others similarly situated,

                   Plaintiffs,
        v.                                               Civil Action No. 21-997 (CJN)

 DISTRICT OF COLUMBIA, et al.,

                  Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s April 13, 2021 Minute Order, the Parties submit this joint status

report. The Parties conferred regarding a proposed briefing schedule for plaintiffs’ motion for a

preliminary injunction and submit their respective positions below.

                                   PLAINTIFFS’ POSITION

       Local Rule 65.1(c) requires defendants to respond to Plaintiffs’ Motion for a Preliminary

Injunction within seven days. Defendants seek additional time to prepare their response. Plaintiffs

consent to defendants’ request for 30 days for the preparation of the response which will make

defendants’ brief due on May 12, 2021. As indicated below, defendants consent to plaintiffs’

request for 15 days to prepare their reply, rather than the seven days that are permitted under Local

Rule 7, making plaintiffs’ reply brief due on May 27, 2021.

       This Court’s Minute Order of April 13, 2021 only directed the parties to confer and propose

a briefing schedule for Plaintiffs’ Motion for a Preliminary Injunction. However, during the

conference, defendants also raised with plaintiffs their request to stay their obligation to file an

answer or responsive pleading to the Complaint and to stay the briefing of Plaintiffs’ Motion for

Class Certification until after the resolution of Plaintiffs’ Motion for a Preliminary Injunction.
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Defendants make these same requests below. In the event that the Court intends to resolve those

requests without a motion by defendants, plaintiffs respond briefly as follows:

       (1) Plaintiffs do not oppose a stay of defendants’ time to answer or otherwise plead in

           response to the Complaint until 14 days after this Court’s resolution of Plaintiffs’

           Motion for a Preliminary Injunction.

       (2) Plaintiffs oppose a stay of defendants’ time to respond to Plaintiffs’ Motion for Class

           Certification because Plaintiffs’ Motion for a Preliminary Injunction seeks preliminary

           relief for the class, not just for the named plaintiffs. Therefore, the Court should have

           before it all submissions concerning Plaintiffs’ Motion for Class Certification by the

           time that the Motion for a Preliminary Injunction is ready to be considered.

       Finally, plaintiffs request oral argument on their Motion for a Preliminary Injunction.

                                   DEFENDANTS’ POSITION

       Defendants the District of Columbia, District of Columbia Public Schools and the Office

of the State Superintendent of Education (collectively, the District) propose that the District’s

opposition to plaintiffs’ motion for a preliminary injunction be due on May 12, 2021, and that

plaintiffs’ reply be due on May 27, 2021. The District requests this briefing schedule to ensure

there is sufficient time to address the voluminous record and numerous complex legal issues

presented in plaintiffs’ motion.

       Further, in the interest of judicial economy and to preserve the Parties’ resources, the

District requests that the deadlines to respond to plaintiffs’ Complaint and motion for class

certification be stayed pending resolution of the motion for a preliminary injunction. Although the

District will oppose plaintiffs' motion for injunctive relief, if the Court is inclined to award any




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preliminary relief, the District submits that class certification would not be necessary prior to the

entry of such relief.

Dated: April 15, 2021.                             Respectfully submitted,


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